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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 BRIAN HUDDLESTON,


                 Plaintiff,                        CIVIL ACTION No. 4:20CV447

                                                   JUDGE AMOS MAZZANT
                 v.

 FEDERAL BUREAU OF INVESTIGATION
 and UNITED STATES DEPARTMENT OF
 JUSTICE,


                 Defendants.


               DEFENDANTS’ SUR-REPLY IN FURTHER OPPOSITION TO
                PLAINTIFF’S SUPPLEMENTAL MOTION FOR INTERIM
                    PAYMENT OF COSTS AND ATTORNEY FEES

        Defendants Federal Bureau of Investigation (“FBI”) and United States Department of

Justice (“DOJ”) file this sur-reply in further opposition to Plaintiff’s Renewed Motion for Interim

Payment of Costs and Attorney Fees (the “Renewed Motion”). ECF 143.

        In “Plaintiffs’ Reply In Support of Renewed Motion for Interim Payment of Costs and

Attorney Fees,” ECF No. 146, Plaintiff makes two points. First, he argues that he has substantially

prevailed in this litigation notwithstanding the fact the Court has resolved most issues in this case

in the Defendants’ favor, finding the searches were adequate and the withholdings and redactions

were overwhelmingly appropriate in accordance with FOIA’s exemptions. See generally ECF 70.

Much of the discussion, which focuses on prior litigation in the Eastern District of New York, does

not bear on whether Plaintiff has identified exceptional circumstances warranting the award of




Defendants’ Sur-Reply                                                                              1
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interim fees in this case. As explained in Defendants’ Response and prior briefing, ECF 59, 66,

103, Plaintiff has not done so, and the Court should deny Plaintiff’s request for interim fees.

        The second argument in the Response is that Defendants waived the ability to contest the

reasonableness of the fees requested by Plaintiff’s counsel. Specifically, Plaintiff argues, “In

Defendants’ Response to Plaintiff’s Motion for Interim Payment of Cost and Attorney Fees (Dkt.

# 59), the Defendants requested permission to brief the reasonableness of fees separately, but the

Defendants have not made such a request here.” ECF 146, p. 4. Plaintiff is incorrect. Defendants

have preserved the ability to contest the reasonableness of fees in two ways. First, Defendants

incorporated and relied on their prior opposition to Plaintiff’s Motion for Interim Payment of Costs

and Attorney’s Fees. See ECF 145. Defendant specifically identified docket entries 59 and 66. Id.

In the Reply, Plaintiff acknowledged that in Docket 59, the Defendants’ response in opposition to

Plaintiff’s motion for interim payment of fees and costs, Defendants requested permission to brief

reasonableness of fees separately. ECF 146, p. 4. Thus, by incorporating those pleadings,

Defendants preserved the issue. Second, Defendants specifically requested to brief the

reasonableness of fees separately in their Response. The Response’s Conclusion provides, “should

the Court be inclined to grant interim fees, Defendants would request additional time to address

the substantive merits of Plaintiff’s fee demand.” ECF 145, p. 3. Thus, contrary to Plaintiff’s

incorrect representation, Defendants did preserve the issue. Further, as Defendants have previously

explained, addressing the issue of the reasonableness of fees as a second step makes sense. Only

after a plaintiff is deemed eligible and entitled to attorney fees, should the issue of reasonableness

be considered. See ECF 66, p. 3–4. Here, Plaintiff has not shown he is eligible for and entitled to

interim fees. As such, the Court should deny Plaintiff’s request without reaching the




Defendants’ Sur-Reply                                                                               2
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reasonableness of fees. However, if the Court finds it appropriate to consider interim fees, the

Court should order additional briefing on the substantive merits of Plaintiff’s demand.

                                            CONCLUSION

        In this case, Plaintiff has not established exceptional circumstances that warrant the

consideration of interim fees, and his motion should be denied.

                                             Respectfully submitted,


                                             DAMIEN M. DIGGS
                                             UNITED STATES ATTORNEY

                                             /s/ James Gillingham
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Defendants’ Sur-Reply                                                                         3
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                                CERTIFICATE OF SERVICE

        I hereby certify that on February 5, 2024, a true and correct copy of the foregoing document
was filed electronically with the court and has been sent to counsel of record via the court’s
electronic filing system.


                                              /s/ James Gillingham
                                              JAMES GILLINGHAM
                                              Assistant United States Attorney




Defendants’ Sur-Reply                                                                             4
